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                           December 7, 2018


                           The Honorable Patrick J. Schiltz
                           United States District Court
                           14E U.S. Courthouse
Andrew H. Mohring
                           300 South Fourth Street
Partner                    Minneapolis, MN 55415
E: AHM@CiresiConlin.com
P: 612-361-8230
                           Re: Ligons, et al. v. Minnesota Department of Corrections, et al.
                               Court File No. 15-CV-2210 (PJS/BRT)
225 South 6th St.
Suite 4600
Minneapolis, MN 55402
                           Dear Judge Schiltz:
612-361-8200
CiresiConlin.com           I write to bring a recent decision in a related case to the Court’s attention:
                           Postawko, et. al. v. Missouri Department of Corrections, et. al, Eighth
                           Circuit 17-3029 (December 6, 2018).

                           Please let me know if you wish additional information or input.


                           Sincerely,


                           /s/ Andrew H. Mohring

                           Andrew H. Mohring


                           cc:     Kathryn Fodness
                                   Kelly S. Kemp
                                   Peter J. Nickitas
                                   Carl Peter Erlinder
                                   Katie Crosby Lehman
                                   Esther O. Agbaje
